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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION

 GENERAL ELECTRIC COMPANY,

                     Plaintiff,

                     v.                           Case No. 3:21-cv-00025 (JAG)

 SIEMENS ENERGY, INC.,

                     Defendant.



           REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
           PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION


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                                   GLOSSARY

Term             Definition

“Ans.”           Siemens Energy, Inc.’s Answer and Defenses to GE’s Complaint, ECF
                 No. 40

“GE Br.”         Memorandum of Law in Support of Plaintiff’s Motion for a Preliminary
                 Injunction, ECF No. 32

“GE Ex. __”      The exhibits attached to the Declaration of Brette Tannenbaum, ECF
                 No. 32-3, and the Rebuttal Declaration of Brette Tannenbaum (being filed
                 herewith)

“Opp.”           Siemens Energy, Inc.’s Memorandum in Opposition to Plaintiff’s Motion
                 for Preliminary Injunction, ECF No. 43

“SEI Ex. __”     The exhibits attached to the Declaration of Alexandra I. Russell, ECF
                 No. 43-2

“Wilner Reply    Rebuttal Declaration of Katy Wilner (being filed herewith)
Decl.”

“Young Reply     Rebuttal Declaration of Russell Young (being filed herewith)
Decl.”




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                                PRELIMINARY STATEMENT

       Ever since May 2019, when it orchestrated a brazen theft of GE’s confidential trade secrets,

disseminating and exploiting them throughout its organization (including senior executives),

Siemens has tried to cover its tracks and obfuscate the gravity of its offenses, concealing its

misconduct for 16 months and then repeatedly dissembling as it concocted its “story.” Siemens’

opposition doubles down on this gambit by misrepresenting the facts, but the evidence exposes the

truth and confirms why GE’s motion for a preliminary injunction should be granted.

       Siemens would have this Court believe that GE’s trade secrets were mostly public and

not valuable—but that is not true. (Opp. at 6–11.) Try as it might, Siemens cannot credibly

dispute that the majority of the information it received about GE’s gas turbines is confidential and

competitively valuable, which is why Siemens disseminated it so broadly and used it so

extensively. It is undisputed that at least 37 Siemens employees received GE’s trade secrets. These

employees knew they should not have had GE’s confidential materials, even warning their

colleagues to “not forward” the information. (GE Ex. 50.) It is also undisputed that these

employees used GE’s confidential pricing information to adjust Siemens’ bid price downward

and undercut GE’s bid. (GE Exs. 30, 31, 37, 38, 43, 53.) This fraud was executed at the highest

levels of Siemens’ organization. Approval of Siemens’ price reduction was obtained from

                                                                 ; Karim Amin, CEO of Siemens’

Power Generation division; Tim Holt, then COO of Siemens Gas and Power and now a member

of Siemens’ Executive Board; and

                                                                                             . (GE

Exs. 30, 43.) Siemens won the contracts in question, worth at least $225 million.

       Siemens then continued to use GE’s trade secrets to unfairly compete against GE on

additional projects, including a gas turbine contract with Florida Power & Light in June 2019 (GE
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Exs. 4, 48) and a different project in February 2020 (GE Exs. 4, 34). This unrebutted evidence of

past misconduct demonstrates that, if given the opportunity to further exploit GE’s trade secrets,

Siemens will do so. Between May 2019 and September 2020—the 16-month period while in

possession of GE’s confidential data before its disclosure to GE—Siemens won at least eight gas

turbine projects, worth more than $1 billion in revenue, over GE’s competing bids. (Wilner Decl.

¶ 23.) And GE and Siemens are set to compete for many more projects involving the turbine

models at issue, involving billions and billions of dollars.

       Siemens would have this Court believe that it promptly disclosed its misappropriation

to GE—but that is not true. (Opp. at 2–4, 18–20). Siemens represents that it first “discovered”

its misappropriation during an “unrelated internal review” in 2020. (Ans. ¶ 99; Opp. at 2.) But

not even Siemens’ own declarant, James Bedont, can say when or why that review was initiated.

Regardless, how can Siemens claim to have “discovered” its misconduct in 2020 when at least 37

of its employees, including two of its most senior executives, knew about the misappropriation in

May 2019? Siemens conspicuously provides no explanation for its decision to wait 16 months to

“voluntarily” disclose its misconduct—and now has the audacity to mischaracterize GE’s trade

secrets as “stale.” The most obvious explanation for Siemens’ delay is self-interest: Siemens

wanted to protect the lucrative Dominion deal (it disclosed its misconduct to GE only after that

deal was canceled), ward off litigation and bad press until its spin-off from its parent company was

finalized in September 2020, and use GE’s trade secrets for its own competitive advantage for as

long as it could. In the meantime, Holt was promoted to Siemens’ Executive Board.

       Siemens would have this Court believe that GE “sat on its hands” upon learning of

Siemens’ misappropriation—but that is not true. (Opp. at 3–4, 18–20.) The undisputed facts

show that GE took decisive action upon learning of Siemens’ misconduct. Siemens’ initial letter,




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which GE received on September 14, 2020, contained no information about the nature of GE’s

stolen information, which Siemens employees were involved, when Siemens discovered its

misconduct, or what remedial and disciplinary action Siemens had taken. (GE Ex. 18.) GE

promptly retained outside counsel, investigated the issues, and sent a series of follow-up questions

and demands to Siemens on October 20, 2020. (GE Ex. 19.) When Siemens refused to provide

basic facts that GE needed to evaluate Siemens’ remedial measures, GE continued to press its

requests. (GE Exs. 20, 21.) Finally, on November 27, 2020, Siemens produced 528 pages of

documents and a (purportedly complete) list of Siemens employees who received GE’s

confidential information. This gave GE its first glimpse of the egregious, wide-ranging nature of

Siemens’ misappropriation, including its repeated use of GE’s information to adjust bids—a fact

Siemens had not previously shared. GE did not engage further before filing suit six weeks later.

       Siemens would have this Court believe that it immediately took extensive remedial

measures and completed them months ago—but that is not true. (Opp. at 2–7.) The

undisputed facts show that Siemens’ remediation was deficient from the outset. Since GE filed its

complaint, Siemens has continued to disclose new, constantly shifting details that demonstrate the

inadequacy of its prior remedial steps. For example, Siemens touts its “disciplinary actions,” but

refused for months on privilege grounds to tell GE which employees, if any, it terminated. We

now know why. Siemens’ March 1, 2021 Answer disclosed that Siemens terminated just six of

the dozens of employees who accessed GE’s trade secrets. Yet the most senior and most culpable

wrongdoers—including Hillen, Sharifi, Amin, Holt, and            —all were retained and, in Holt’s

case, promoted to the Executive Board.

       Equally misleading, Siemens represented in September 2020 that it had “sequestered and

removed” GE’s information, such that “any employee who had access to the GE information




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cannot access or use the information in future projects.” (GE Ex. 18.) In October, Siemens

provided GE an under-oath declaration stating that this removal process, including “screen share

sessions in which we directed the employees to complete the deletion process in our presence,”

was “now complete.” (GE Ex. 21, Ex. B ¶¶ 29–30.) These representations, designed to lull GE

into forgoing injunctive relief, were false. Siemens’ documents show that the “screen share

sessions” remained ongoing a month later, on November 24, when a key wrongdoer, Mehran

Sharifi, still had one of the original emails containing GE trade secrets in his inbox. (GE Ex. 44.)

        Siemens also misrepresented the sufficiency of its voluntary “firewall.” In October 2020,

Siemens agreed only to wall off employees from F-class turbine projects (GE Ex. 21), a position

from which it refused to budge (SEI Ex. 1), even though at least Hillen and Sharifi received

information about GE’s H-class and aeroderivative turbines as well. Now, Siemens claims that no

further relief is necessary because Hillen and Sharifi are walled off from F-class, H-class, and

aeroderivative projects. (Opp. at 5.) Siemens never “picked up the phone” to tell GE that before

filing its opposition. Even more concerning is Siemens’ disclosure that, on February 10, 2021,

months after its remediation was “complete,” it firewalled 22 employees—including 17 additional

employees never before identified to GE—from F-class, H-class, and aeroderivative projects,

indefinitely.   (Bedont Decl. Ex. A.)       Because this latest firewall largely concedes the

appropriateness of GE’s requested relief, Siemens buries it in its papers without explanation. On

March 22, 2021, and only after GE followed up, Siemens disclosed for the first time that these 17

employees had access to databases that contained GE’s confidential information. (GE Ex. 55.)

        It is undisputed that Siemens misappropriated GE’s confidential bidding information,

terminated six employees, and voluntarily implemented restrictions on dozens of other employees

who had access to GE’s confidential information.            By Siemens’ own account, further




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misappropriation is being prevented only by its remedial measures. There remain just two disputes

for resolution: (i) whether Siemens’ remedial measures are sufficient, and (ii) whether Siemens

should be trusted to enforce those (or enhanced) measures itself or be subject to a court order.

       On the first issue, it is now clear that 54 Siemens employees (48, current) accessed or had

access to GE’s trade secrets, and only 22 are fully prevented from using those trade secrets to

Siemens’ competitive advantage. Although Siemens’ newly expanded firewall—assuming it is

actually in place as described—provides GE part of the relief sought by this motion, it is

insufficient because 26 tainted employees are subject only to Siemens’ narrow “F-class” firewall,

and only for three more months, until June 2021, even though GE’s “F-class” turbine trade secrets

continue to be valuable and can be used to derive competitively valuable information about its H-

class turbines beyond that date. (Young Reply Decl. ¶¶ 23, 35.) And on the second issue, Siemens’

persistent misrepresentations about its remedial measures underscore the need for a court order.

       GE therefore requests that this Court enter a preliminary injunction to enforce Siemens’

existing remedial measures, subject to just two modest extensions: (1) all Siemens employees who

had access to trade secrets regarding GE’s “F-class” turbines should be prohibited from

participating in projects involving “H-class” turbines, which use the same underlying technology;

and (2) all remedial measures should remain in place for the duration of this lawsuit or until

June 30, 2022, whichever comes first. A new proposed order reflecting this relief is attached.1

       The modest additional relief GE seeks is reasonable, narrowly tailored, and satisfies all

four requirements for a preliminary injunction. GE will succeed in demonstrating not just

Siemens’ past misappropriation (which is conceded), but also Siemens’ threatened



1
    Once the parties meet and confer pursuant to Rule 26(f), GE intends to seek discovery into
    Siemens employees’ access to confidential information about GE’s aeroderivative turbines, so
    that it can seek an expanded firewall, if necessary, on a more developed record.


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misappropriation, which is being prevented only by reason of its own remedial measures. GE has

also shown irreparable harm. Siemens does not dispute that it won the Peakers Project and at least

eight other projects over GE’s competing bid while in possession of GE’s confidential trade

secrets, or that it will continue to regularly compete with GE for gas turbine projects, including

several upcoming F-class and H-class projects. Siemens’ continued misuse of GE’s trade secrets

on those projects threatens GE’s customer relationships and ability to fairly compete, which cannot

be compensated with money damages alone. The equities and the public interest tilt decidedly in

favor of the injunction, given Siemens’ corresponding failure to show any harm (which also

obviates the need for a bond). Siemens’ claim that an injunction would deter competition fails; a

tailored injunction would merely prohibit Siemens employees with knowledge of GE’s trade

secrets from participating in bidding processes, precisely the sort of unethical conduct that trade

secret law is designed to prevent.

       For these reasons, and those set forth in GE’s opening brief, the Court should issue a

preliminary injunction order substantially in the form attached hereto.

                                          ARGUMENT

I.     GE’S REQUESTED INJUNCTIVE RELIEF IS APPROPRIATE

       A.      An Order Enforcing Siemens’ Remedial Measures Is Warranted.

       As explained above, Siemens’ conduct follows a disturbing pattern: Siemens offers

incomplete or inaccurate disclosures and half-baked remedial measures and, only when pressed,

relents and gives a bit more—but still far less than what is required to protect GE’s trade secrets.

In light of this ongoing pattern, we do not believe Siemens can police itself. See, e.g., Brightview

Grp., LP v. Teeters, 441 F. Supp. 3d 115, 140 (D. Md. 2020) (assurances that defendants deleted

plaintiff’s trade secret information did not eliminate a “cognizable danger of [a] recurrent

violation” (quotation marks omitted)); ClearOne Commc’ns, Inc. v. Chiang, 608 F. Supp. 2d 1270,


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1279–81 (D. Utah 2009) (defendants’ claim to have stopped using plaintiff’s trade secrets did not

eliminate imminent threat of irreparable harm). Indeed, Siemens is likely to abandon these

undertakings if the Court denies injunctive relief. Thus, the Court should order Siemens to

maintain the remedial measures it says it has implemented.

       B.      Siemens Employees Exposed to GE’s “F-Class” Trade Secrets Should Be
               Firewalled From “F-Class” and “H-Class” Projects.

       After this motion was filed (21 months after first receiving GE’s trade secrets), Siemens

put in place a two-tiered “firewall”: (i) 26 employees are barred from working on projects related

to Siemens’ F-class turbine, the SGT6-5000F; and (ii) 22 employees are more broadly walled off

from projects involving the F-class turbine (SGT6-5000F) and four other turbines, the SGT6-

8000H (H-class turbine), SGT-A65 (aeroderivative turbine), SGT-800 (industrial turbine), and

SGT6-2000E (E-class turbine). (Bedont Decl. ¶ 15 & Ex. A.) While this is a step in the right

direction, the 26 employees walled off from F-class projects also should be walled off from H-

class projects to protect GE’s ability to fairly compete.

       Gas turbine engineers can use their expertise to analyze data from competitors’ bid

packages and extrapolate how a competitor will bid either the same or similar turbines for other

projects. (Young Decl. ¶¶ 38–40; Young Reply Decl. ¶¶ 13–23.) For example, an engineer who

knows a competitor bid’s output capacity, emissions levels, and pricing for a specific past project

can estimate how those numbers will change in future bids based on differences in the elevation

and ambient temperature of the relevant power plants. (Young Reply Decl. ¶ 14.) It is especially

easy to extrapolate such information across classes of heavy-duty turbines such as F-class and H-

class machines, as the H-class turbine is the direct technological descendent of the F-class turbine

and shares many of the same designs. (Id. ¶¶ 22–23.)




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                                            . (See GE Ex. 35; SEI Ex. 1.) Siemens employees

indisputably found this information important, which is why they retained, analyzed, and

disseminated the information. If that information were really stale, why would Siemens continue

to wall off more and more employees, notwithstanding its supposed deletion of these materials?

       Siemens claims extrapolation is unlikely, but its only evidence, the declaration of

Mr. Bedont, is unpersuasive. Mr. Bedont suggests that data about GE’s heavy-duty turbines

cannot be extrapolated to its aeroderivative turbines, but GE is no longer asking for that relief.

(Bedont Decl. ¶¶ 97–108.) GE seeks only to expand Siemens’ F-class firewall to include related

H-class projects—and Mr. Bedont offers no persuasive explanation for why F-class data cannot

be extrapolated to H-class turbines. Mr. Bedont also misses the mark when he asserts that “[e]very

project is unique and is evaluated on unique customer criteria.” (Id. ¶ 110; see id. ¶¶ 109–115.)

To be sure, each turbine project is different, and GE does not deny that manufacturers customize

turbines’ technical specifications and pricing to fit each customer’s project-specific needs. (Young

Reply Decl. ¶ 12.) But that is precisely why GE’s trade secrets are so valuable: because each bid

is different, manufacturers have a huge leg-up if they can predict how their competitors will bid.

Turbine engineers who work on bid packages can do just that, performing sophisticated

competitive analyses that can dramatically improve a manufacturer’s confidence level about how

a competitor will bid for other projects. (Id. ¶¶ 13–18.)

       Nor is this extrapolation process “speculative,” as Siemens claims. Siemens argues that

manufacturers cannot calculate with exact precision how a competitor will bid (Opp. at 9), but it

cannot dispute that extrapolated estimates still have great competitive significance. Even if a

manufacturer cannot predict exactly how a competitor will bid, the ability to narrow a competitor’s




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key bid terms to a smaller range is hugely beneficial. (Young Reply Decl. ¶ 18.)

       For proof, look no further than Siemens’ own conduct in this matter. Its engineers and

salespeople used GE’s trade secrets to engage in precisely the sorts of purportedly “speculative”

competitive analyses Siemens now derides as useless. (See GE Ex. 33 (analysis by Siemens

engineer of “a few not apples to apples comparisons” of the Peakers Project bid proposals); GE

Ex. 47 (email from Siemens salesperson attaching his “assumptions and formulas” about the bid

proposals).) Siemens employees also used GE’s confidential data to improve their bid packages

for at least two other projects. (See GE Exs. 34, 48.)

                              . (GE Ex. 35.) This evidence from Siemens’ own files underscores

why Siemens employees who had access to confidential GE F-class turbine data should not be

permitted to work on projects for the similar H-class turbines.

       C.      Siemens’ Firewalls Should Extend Until Final Judgment or June 30, 2022.

       Given the ongoing competitive value of GE’s misappropriated trade secrets, Siemens

should be required to maintain these remedial measures during the pendency of this litigation or

until June 30, 2022, whichever is earlier. While Siemens makes the general assertion that GE’s

trade secrets are “dated” because turbine technology is “rapidly evolving” (Opp. at 12, 15, 23), it

provides no factual support for its claim that GE’s trade secrets become stale after only two years.

That simply is not true. (Young Reply Decl. ¶¶ 34–35.) A competitor’s turbine bidding data is

valuable for at least as long as that turbine retains its core technical composition and performance

characteristics—which is years after being brought to market. (Id.) This is especially true of

mature turbine technologies such as those in the F-class. (Id. ¶ 34.)

       Siemens’ “two-year” firewall is also misleading. Siemens’ F-class firewall was not

implemented until September 2020 and will expire in June 2021, after only nine months. Unless

Siemens is compelled to extend its wall-off, every Siemens employee with knowledge of GE’s


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trade secrets will be free to bid on projects involving the same or related turbines three months

from now, when those trade secrets will still be competitively valuable.

II.      GE HAS SATISFIED THE REQUIREMENTS FOR INJUNCTIVE RELIEF

         A.      GE Has Shown a Likelihood of Success on the Merits.

                 1.      GE Has Shown Past and Threatened Future Misappropriation.

         Siemens concedes its misappropriation of GE’s trade secrets, but argues that GE has only

shown past, not future, misappropriation. But 48 of its employees have accessed GE’s trade

secrets, and Siemens’ remedial measures—which cannot be trusted in the absence of a court

order—prohibit only 22 from participating in all projects where those trade secrets could be used.

Courts recognize that employees—even acting in good faith—will likely use a competitor’s trade

secrets if left in a position to do so. See, e.g., FMC Corp. v. Varco Int’l, Inc., 677 F.2d 500, 504

(5th Cir. 1982) (“Even assuming the best of good faith, Witt will have difficulty preventing his

knowledge of [plaintiff’s] manufacturing techniques from infiltrating his work.”).2 And while

Siemens mischaracterizes GE’s request as based on its employees’ “mere knowledge” of GE’s

trade secrets (Opp. at 14), courts have held that knowledge of a competitor’s bidding information

warrants an injunction to prevent further misappropriation where, as here, there is an undisputed

record of extensive prior use. See Earthbound Corp. v. MiTek USA, Inc., No. C16-1150 RSM,

2016 WL 4418013, at *10 (W.D. Wash. Aug. 19, 2016) (injunctive relief granted when defendants

used trade secret information to underbid plaintiff on past project); (see also GE Ex. 35).


2
      See also Juniper Entm’t, Inc. v. Calderhead, No. CV-07-2413-ADS-AKT, 2007 WL 9723385,
      at *23 (E.D.N.Y. Aug. 17, 2007) (“[K]nowledge of a customer’s pricing information in the
      context of bidding is extremely potent in the hands of a competitor and such knowledge has
      been held to constitute a trade secret protectible by an injunction.”); Brightview, 441 F. Supp.
      3d at 140 (finding deletion efforts insufficient because if defendants “committed [plaintiff’s]
      trade secrets and/or proprietary information from the contested . . . documents to memory, that
      information remains accessible to them, despite the emails’ deletion”); Monovis, Inc. v.
      Aquino, 905 F. Supp. 1205, 1234 (W.D.N.Y. 1994).


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               2.      GE Has Shown the Existence of Trade Secrets.

       Siemens suggests the GE information it misappropriated deserves no trade secret protection

because some of it is publicly available. (Opp. at 6.) This argument is belied by the “extensive”

remedial steps Siemens already has taken. And Siemens does not, and cannot, dispute that the

overwhelming majority of trade secrets at issue are confidential technical specifications and

pricing for GE’s turbine units and proposed services—the very basis on which GE and Siemens

compete against each other for projects. (See GE Exs. 23–27.)

       Siemens points to just two small sets of data as “publicly available”: maintenance-related

data in a                                          , and turbine emissions data. (Opp. at 6.) The

maintenance data are immaterial: while some specific data points about the service agreement are

publicly available, the rest are not. For example, documents sent to Hillen included a



    . (See GE Ex. 26.) Siemens does not dispute that this analysis was highly confidential.

Indeed, its employees repeatedly used these data to analyze and improve Siemens’ bids for the

Peakers Project and other projects. (See GE Exs. 33, 41, 50.)

       Siemens’ argument that GE’s emissions data are publicly available rests on a

misunderstanding of that data. While certain baseline emissions levels are public, turbines’ real-

world emissions levels vary from project to project, depending on the turbines’ firing temperatures.

(Young Reply Decl. ¶ 9.) A competitor’s project-specific emissions levels, especially when

combined with project-specific output capacity and pricing, are highly valuable and far more

useful for competition purposes than the baseline emissions levels. (Id. ¶ 10.)




        . (GE Ex. 32.)


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       Siemens argues, by analogy, that similar bid turbine data are sometimes made public.

(Opp. at 11; Bedont Decl. ¶¶ 116–21.) It is true that some information from manufacturers’ bid

packages is published in certain countries and available on manufacturers’ websites, in industry

publications, or through public records requests. (Young Reply Decl. ¶¶ 24–25.) But compared

to full bid-package data—like the data Siemens received regarding GE’s Peakers Project bid—

such public data are high level, incomplete, and of limited use. (Id. ¶ 26.) Publicly available bid

data have often been processed and do not provide the line-by-line technical and pricing inputs in

GE’s bid packages. (Id. ¶¶ 27–31.) The latter information is much more valuable to competitors.

(Id. ¶ 32); see Harvey Barnett, Inc. v. Shidler, 338 F.3d 1125, 1130 (10th Cir. 2003) (holding that

“a trade secret can exist in a combination of characteristics, each of which, considered separately,

is in the public domain, but, taken together, may yield a competitive advantage”). Siemens does

not contend that all the Peakers Project data it received are available anywhere, nor has it shown

that it can replicate these data from public sources. Perhaps most notably, Siemens has treated

such information as highly confidential in its own documents, redacting its own comparable

pricing and technical data when side-by-side with GE’s (see, e.g., GE Exs. 30, 32, 33), even in

documents produced on an outside attorneys’ eyes only basis (GE Exs. 33, 38).

       B.      GE Has Shown Irreparable Injury.

       GE has established irreparable injury as a matter of law.3 GE faces multiple categories of

harm, including to its market standing and customer relationships, that are incalculable and cannot



3
    Multiple state and federal courts have held that irreparable injury is not required to obtain a
    preliminary injunction under the VUTSA. See Peraton, Inc. v. Raytheon Co., No. 1:17-cv-
    979, 2017 WL 11501665, at *4 (E.D. Va. Nov. 7, 2017); Salient CRGT, Inc. v. Sols. by Design
    II, LLC, No. 1:20-cv-236, 2020 WL 3550008, at *7 (E.D. Va. Apr. 2, 2020); CG Riverview,
    LLC v. 139 Riverview, LLC, No. CL16-5083, 2018 WL 8798547, at *4–5 (Va. Cir. Ct. Jan. 9,
    2018). While Siemens argues that these cases were incorrectly decided under Fourth Circuit
    case law, the Peraton court was presented with the same argument (see GE Ex. 54), and


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be adequately remedied by money damages. These harms are supported by the evidence and,

contrary to Siemens’ assertions, are far from “speculative.”

       First, as GE explained in its opening papers, the harm that results from losing a particular

gas turbine project is difficult to quantify because it causes broader damage to GE’s market

standing and reputation, particularly in the period in which that project is awarded. (Wilner Decl.

¶¶ 20, 24.) The gas turbine industry is highly concentrated and fiercely competitive. (Wilner Decl.

¶¶ 1–13.) Courts have recognized that valuable opportunities in concentrated industries are

difficult to replace with damages. See Hoffman Eng’g Corp. v. Piscitelli, No. 3:07-cv-147, 2007

WL 2021965, at *3 (W.D.N.C. July 11, 2007) (harm irreparable where defendant sold “only a

few” machines so “expensive and specialized that there are only a few companies worldwide that

design” them). These same market features lead industry participants—including customers—to

pay close attention to periodic shifts in equipment suppliers’ market shares. When Siemens

announced that it had won the Peakers Project, industry analysts immediately reported Siemens’

win as a loss by GE, which injured GE’s reputation4 and standing5 (Wilner Decl. ¶¶ 20, 24)—


    rejected it. But the Court need not reach the issue, because GE plainly establishes irreparable
    injury.
4
    See Lone Star Steakhouse & Saloon, Inc. v. Alpha of Va., Inc., 43 F.3d 922, 938 (4th Cir. 1995)
    (“[A] finding of irreparable injury ordinarily follows when . . . possible risk to reputation
    appears.”); PeopleStrategy Inc. v. Lively Emp’r Servs., Inc., No. 3:20-cv-2640, 2020 WL
    7237930, at *5 (D.N.J. Dec. 9, 2020) (holding that “future loss of reputation, trade, or goodwill
    [. . .] constitutes irreparable injury”). Siemens argues that GE’s reputation has already been
    damaged by a recent SEC settlement. (Opp. at 24.) The Court should ignore this obvious
    cheap shot, which is irrelevant: a party that has suffered past reputational harm can suffer
    further harm in the future.
5
    See Hess Newmark Owens Wolf, Inc. v. Owens, 415 F.3d 630, 632 (7th Cir. 2005); WHIC LLC
    v. NextGen Lab’ys, Inc., 341 F. Supp. 3d 1147, 1165 (D. Haw. 2018) (“[T]he loss of clients
    and market share is not economic loss that can be fully compensated by a damage award[.]”
    (quotation marks omitted)); Advanced Instructional Sys., Inc. v. Competentum USA, Ltd.,
    No. 1:15-cv-858, 2015 WL 7575925, at *5 (M.D.N.C. Nov. 25, 2015) (holding “damage that
    could be done to [plaintiff’s] market share and future prospects would be extremely difficult
    to quantify”); SBM Site Servs., LLC v. Garrett, No. 10-cv-00385, 2011 WL 7563785, at *5 (D.


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harms that courts routinely recognize as irreparable. Any further use of GE’s trade secrets by

Siemens to win projects over GE will cause these harms to recur.

       Second, such losses also cause irreparable harm to GE’s relationship with customers.

Customers that have purchased turbines from a manufacturer have powerful incentives to make

additional purchases from that same manufacturer. Customers can use the same spare parts across

turbines that are based on the same technology, creating cost savings when purchasing similar

turbines from the same manufacturers. (Wilner Reply Decl. ¶ 5.) Customers also benefit from

having common control systems, control rooms, and operating protocols, which reduce the costs

of equipment and employee training. (Id.) Moreover, manufacturers and power providers have

ongoing services relationships, and when a customer buys multiple turbines from one

manufacturer, that deepens the service relationship for the benefit of both parties. (Id.) For all

these reasons, a loss on a major gas turbine project negatively affects GE’s overall relationship

with, and likelihood of winning future projects from, that customer. (Id.; see also Wilner Decl.

¶ 7.) Courts frequently hold that such harms are irreparable because loss of relationships with

customers, and accompanying loss of goodwill, cannot be easily quantified. See, e.g., API Tech.

Servs., LLC v. Francis, No. 4:13-cv-142, 2013 WL 12131381, at *3 (E.D. Va. Dec. 4, 2013)

(“When the failure to grant preliminary relief creates the possibility of permanent loss of customers

to a competitor or the loss of goodwill, the irreparable injury prong is satisfied.” (internal citation

and quotation marks omitted)).6



    Colo. June 13, 2011) (irreparable harm established where plaintiff “face[d] the substantial
    likelihood that it will lose market share and customer business. It is difficult to calculate with
    any precision in monetary terms the damage to SBM in the competitive marketplace”);
    PepsiCo, Inc. v. Redmond, No. 94 C 6838, 1996 WL 3965, at *30 (N.D. Ill. Jan. 2, 1996)
    (holding “competitive position in an industry defies calculation”).
6
    See also Smithfield Packaged Meats Sales Corp. v. Dietz & Watson, Inc., 452 F. Supp. 3d 843,
    864 (S.D. Iowa 2020) (holding that, “while [plaintiff’s] lost sales may be quantifiable,” “losing


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       Siemens’ arguments against irreparable harm are entirely lacking in merit. Indeed, these

arguments ultimately depend on its claim that its remedial measures are adequate to prevent any

further harm to GE. (See Opp. at 7, 20–24.) But that argument highlights the need for a court

order requiring Siemens to continue those measures and extend them appropriately. Enforcing an

employee firewall is an appropriate way to prevent these irreparable harms to GE. See Peraton,

2017 WL 11501665, at *4–5.

       Siemens argues that these harms are “speculative” unless GE can show that Siemens might

win specific projects in Belgium and Italy. (Opp. at 21.) But courts sensibly refuse to impose

such a daunting burden on plaintiffs at this early stage. See, e.g., Hess Newmark, 415 F.3d at 632

(rejecting a “legal rule that irreparable injury can be established only by a concrete demonstration”

of specific loss of business).7 Siemens does not (and cannot) deny that GE and Siemens—two

leading market participants—will continue to compete for projects involving the turbine models


    customers—and thus market share—harms [plaintiff’s] brand, goodwill, and reputation”
    irreparably); Inventus Power v. Shenzhen Ace Battery Co., Ltd., No. 20-cv-3375, 2020 WL
    3960451, at *13 (N.D. Ill. July 13, 2020) (“[T]he potential harm to Plaintiffs is particularly
    great because their business focuses on fostering long-term relationships with customers who
    need specially designed products on an ongoing basis.”); Life Spine, Inc. v. Aegis Spine, Inc.,
    No. 19-cv-7092, 2021 WL 963811, at *22 (N.D. Ill. Mar. 15, 2021) (plaintiff’s “showing of
    loss and potential loss of customers and market share in a context in which those customers
    would be difficult to win back supports its assertions that it will be irreparably harmed”);
    Freedom Med., Inc. v. Sewpersaud, No. 6:20-cv-771, 2020 WL 8370952, at *3 (M.D. Fla. May
    6, 2020) (“While loss of money alone isn’t typically enough for irreparable injury, loss of
    customers and goodwill is.”); Optos, Inc. v. Topcon Med. Sys., Inc., 777 F. Supp. 2d 217, 241
    (D. Mass. 2011) (finding that “Defendants’ actions [of trying to steal plaintiff’s customers]
    could undermine [plaintiff’s] business relationships with its customers and erode [its] market
    share in a limited market”); Arminius Schleifmittel GmbH v. Design Indus., Inc., No. 1:06-cv-
    00644, 2007 WL 534573, at *6 (M.D.N.C. Feb. 15, 2007) (holding loss of “ongoing, profitable
    business relationships creates a harm . . . that cannot be easily quantified by this Court”).
7
    See also Life Spine, 2021 WL 963811, at *21 (holding plaintiff “is not required to identify the
    specific business or customers it has lost or might lose” to defendant); Xantrex Tech. Inc. v.
    Advanced Energy Indus., Inc., No. 07-cv-2324, 2008 WL 2185882, at *16 (D. Colo. May 23,
    2008) (“Simply because there is no current evidence that customers have been lost, or sales
    lost, does not mean that irreparable injury is lacking.”).


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at issue. (Wilner Reply Decl. ¶¶ 4, 15;

                                                                                            ) GE

specifically identifies   projects that are being bid now or expected to be bid in April–

October 2021. (Id. ¶¶ 17–29.) And while Siemens mischaracterizes “most” of these projects as

“preliminary,” because no formal RFP has issued (Opp. at 7), equipment suppliers often compile

pre-RFP bids that include turbine pricing and technical specifications. (Wilner Reply Decl. ¶ 7.)8

Ultimately, Siemens nowhere disputes that there are over     such projects where GE and Siemens

may compete in the coming months. (Wilner Decl. ¶ 28; Wilner Reply Decl. ¶ 15.)9



                                                                                     And we now

know that Siemens has received a preliminary indication it will win two of those projects.

(Wilner Reply Decl. ¶ 11.)

       Siemens also asserts that GE cannot show irreparable harm because it “s[at] on its hands”

before pursuing relief. (Opp. at 3; see id. at 18–20.) The record shows just the opposite. Siemens

failed to disclose its misconduct to GE for 16 months, and then stonewalled GE’s requests for basic

information. (Supra at pp. 2–3.) GE acted appropriately: After Siemens finally provided GE with

a production of (significantly redacted) documents in late November, GE evaluated its claims and



8
    Similarly, while Siemens claims some due dates have passed (Opp. at 8 n.7), competitors
    continue to make proposals until the project has closed and a “notice to proceed” has
    issued. (Wilner Reply Decl. ¶¶ 7, 10.) None of the Belgium and Italy projects has closed. (Id.
    ¶ 10.) In its moving papers, GE also identified the South Carolina RFP issued by Dominion
    as an example, but that selection process has now ended. (Young Reply Decl. ¶ 43.)
9
    As we explained previously, that easily distinguishes this case from the MHI litigation, where
    a preliminary injunction was denied. (GE Br. at 24 n.8.) There, MHI “argue[d] that it w[ould]
    be harmed in competing on future similar projects but ha[d] not directed this Court to any such
    project that it [was] currently competing against Defendant for or that it reasonably
    anticipate[d] w[ould] arise in the near future.” (GE Ex. 9 at 10.) Not so here.


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the adequacy of Siemens’ remedial measures before bringing suit six weeks later. Multiple courts

have concluded that such conduct evinces prudence, not “delay,” and does not warrant denial of a

preliminary injunction. See, e.g., Splitfish AG v. Bannco Corp., 727 F. Supp. 2d 461, 467–68 (E.D.

Va. 2010) (granting preliminary injunction in copyright case, even though plaintiffs waited eight

months to file their complaint after learning of infringement, where plaintiffs spent that time

seeking a resolution and “compil[ing] the evidence necessary” to assert their claims).10 Siemens

itself recently argued in another case that a “showing of irreparable harm is not precluded by a

delay in moving for a preliminary injunction.” Brief of Appellants at 29, Siemens USA Holdings,

Inc. v. Geisenberger, No. 20-2991, 2020 WL 6866789, at *33 (3d Cir. Nov. 19, 2020).

        Finally, Siemens incorrectly suggests that GE’s injury can be readily cured by money

damages on the ground that GE “quantifie[d] its alleged harm” in Ms. Wilner’s declaration. (Opp.

at 24.) Ms. Wilner did not purport to give a precise calculation of damages, but merely estimated

the revenue associated with several past and future gas turbine projects. (Wilner Decl. ¶¶ 23, 34,

39.) GE faces reputational and other harms that are, by their nature, incalculable. Siemens’ own



10
     See also BP Chemicals Ltd. v. Formosa Chem. & Fibre Corp., 229 F.3d 254, 264 (3d Cir.
     2000) (holding that “a delay caused by a plaintiff’s good faith efforts to investigate an
     infringement or to determine how serious an infringement is does not preclude a finding of
     irreparable harm” (quotation marks omitted)); Goken Am., LLC v. Bandepalya, No. 2:14-CV-
     1445, 2014 WL 6673830, at *7–8 (S.D. Ohio Nov. 24, 2014) (“A seven month delay, during
     which time Goken sought to uncover evidence for its litigation, is common in litigation.”).
     Siemens’ cited cases are inapposite. In one, a citizens’ group opposed to construction of a
     suburban highway waited six months after all necessary approvals had been obtained before
     filing suit. Quince Orchard Valley Citizens Ass’n, Inc. v. Hodel, 872 F.2d 75, 79 (4th Cir.
     1989). In another, a plaintiff waited two years to bring a suit for copyright infringement.
     Magnussen Furniture, Inc. v. Collezione Europa USA, Inc., No. 96-1917, 1997 WL 337465,
     at *1 (4th Cir. June 19, 1997) (unpublished); see also Krueger Int’l, Inc. v. Nightingale Inc.,
     915 F. Supp. 595, 612 (S.D.N.Y. 1996) (nine-month delay). There was no comparable delay
     here. Siemens also cites Novozymes A/S v. Danisco A/S, No. 10-cv-251-BBC, 2010 WL
     3783682 (W.D. Wis. Sept. 24, 2010), but there, the court’s discussion of delay was superfluous
     because it independently found no irreparable harm, see id. at *3–4.


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arguments prove the point: It is difficult to show exactly how Siemens employees have used GE’s

trade secrets in particular projects, which is why Siemens will argue that the harms GE faces—

while concrete—may be difficult to calculate using money damages. The potential challenges of

proving money damages are precisely why courts frequently grant injunctions in analogous

circumstances. See, e.g., Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Bradley, 756 F.2d 1048,

1054 (4th Cir. 1985) (“It may be impossible for the arbitral award to return the parties substantially

to the status quo ante because the prevailing party’s damages may be too speculative.”); Forestry

Sys., Inc. v. Coyner, No. 1:11-cv-295, 2011 WL 1457707, at *2 (M.D.N.C. Apr. 15, 2011)

(“[D]issemination of Plaintiff’s trade secrets would be irreparable because the extent of the

dissemination would be difficult to ascertain and because the monetary harm caused by Plaintiff’s

loss of commercial advantage could be impossible to quantify.”).

       C.      The Balance of the Equities Favors an Injunction.

       Siemens does not point to any legitimate harm it would face from the requested injunction,

much less any that outweighs the harm to GE if the injunction were denied. While Siemens argues

it will lose the “skills and talents” of certain employees on certain projects (Opp. at 25), Siemens

makes no effort to substantiate that supposed harm—which is completely implausible for a

company with over 90,000 employees (GE Ex. 22). Siemens can afford to reassign employees to

other projects, and it does not suggest otherwise. Moreover, Siemens has already put in place

many of the requested remedial measures—including those instituted after GE filed this motion.

Siemens would not have undertaken such measures if it thought they would cause it significant

harm. See Consumers Union of U.S., Inc. v. Admiral Corp., 186 F. Supp. 800, 801 (S.D.N.Y.

1960) (explaining “if defendant has no intention of” engaging in further wrongdoing, that only

means “no injury ensues to it from the granting of the injunction”). Certainly, Siemens does not

explain how any such harm would be irreparable—which, as the Fourth Circuit has explained in


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the very case Siemens relies on, is the only sort of harm that matters for purposes of the balancing

of the equities. Scotts Co. v. United Indus. Corp., 315 F.3d 264, 285 (4th Cir. 2002).

       D.      The Public Interest Favors an Injunction.

       The injunction is plainly in the public interest. Siemens’ oratory about potential harms to

competition (Opp. at 26–27) is rich coming from a party that orchestrated the theft and widespread

dissemination of a competitor’s trade secrets, which it proceeded to cover up for 16 months. There

might well be more “competition” if competitors were free to steal each other’s trade secrets

without consequence, but Congress and the Virginia legislature have found that the benefits of

such “competition” (if any) are outweighed by the need to protect innovation and business ethics.

See, e.g., Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470 (1974).

       Of particular importance, trade secret law facilitates the sharing of confidential information

among those who need to access it. See, e.g., id. (citing Wexler v. Greenberg, 160 A.2d 430, 434–

435 (Pa. 1960)). Here, in the absence of robust trade secret protection, bidders like GE would

hesitate to share trade secrets with power companies like Dominion, making the bidding process

less efficient to the detriment of power companies and, ultimately, citizens who must pay their

power bill each month. Vigorously enforcing the trade secret laws will facilitate the bidding

process and restore fair competition in the face of Siemens’ misappropriation.

       E.      GE’s Requested Relief Is Sufficiently Specific.

       Siemens complains that GE’s requested relief is insufficiently specific. (Opp. at 27–29).

Most of those concerns are mooted by the narrower relief GE is now seeking in light of Siemens’

concessions (see supra at p. 5). The only remaining issue concerns GE’s request that the injunction

cover “later-developed models of comparable outputs” to the five Siemens turbine models at issue.

This request was designed to ensure that, if Siemens introduces successor models similar to those

specified in the injunction, it cannot evade the injunction by assigning tainted employees to work


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on those models. This is not a baseless or overbroad request: because the gas turbine market is

fluid and new projects come up frequently, the injunction must be flexible enough to prevent

Siemens employees from using GE’s trade secrets in competing for all bids where they could be

competitively valuable. (Wilner Reply Decl. ¶¶ 6, 15.) If the Court deems it necessary, GE can

propose alternative wording to address any concern about specificity.

III.   GE SHOULD NOT HAVE TO PAY A BOND

       While Siemens demands that GE pay a “substantial bond,” it provides no support for one.

Siemens faces, at most, the costs of reassigning a few dozen employees, which are not “substantial”

for a firm with over 90,000 employees. “Where the district court determines that the risk of harm

is remote, or that the circumstances otherwise warrant it, the court may fix the amount of the bond

accordingly. In some circumstances, a nominal bond may suffice.” Hoechst Diafoil Co. v. Nan

Ya Plastics Corp., 174 F.3d 411, 421 n.3 (4th Cir. 1999); see also SBM Site Servs., LLC v. Garrett,

No. 10-cv-00385-WJM-BNB, 2011 WL 7563785, at *11 (D. Colo. June 13, 2011) (explaining that

a “bond is unnecessary absent proof of a likelihood of harm to the defendants” and that, “[a]s a

practical matter, the burden is on the party opposing a preliminary injunction to provide evidence

of the damages it will suffer if wrongfully enjoined” (quotation marks omitted)). That is the case

here, and so the Court should not require any bond from GE. But, if the Court finds that a bond is

warranted, it should be set at a nominal amount in light of Siemens’ manifest failure to establish

any substantial harm. See, e.g., Candle Factory, Inc. v. Trade Assocs. Grp., Ltd., 23 F. App’x 134,

139 (4th Cir. 2001) (approving entry of $500 bond).

                                        CONCLUSION

       For the reasons set forth above, and in its opening brief, GE respectfully requests that the

Court grant GE’s motion and enter an order substantially in the form attached hereto.




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March 24, 2021

                                   GENERAL ELECTRIC COMPANY


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                                 CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that on the 24th day of March 2021, I will

electronically file the foregoing with the Clerk of Court using the CM/ECF system, which will

then send a notification of such filing (NEF) to all counsel of record.



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